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 8
   Attorneys for Plaintiff
 9 United States of America
10                         UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                      Case No. 22-CR-1152-weAS
13                      Plaintiff,                  BILL OF PARTICULARS FOR
                                                    FORFEITURE OF PROPERTY
14                V.
                                                    [FILED UNDER SEAL]
15   KARIM ARABI (1 ),
     SHEIDA ALAN (2),
16        aka Sheida Arabi,
     SANJIV TANEJA (3), and
17   ALI AKBAR SHOKOUHI (4 ),
18                      Defendants.
19
20         Plaintiff, the United States of America, by and through its counsel, Randy S.
21   Grossman, United States Attorney, and Nicholas W. Pilchak, Meghan E. Heesch, and
22 Eric R. Olah, Assistant United States Attorneys, hereby files the following Bill of
23 Particulars for Forfeiture of Property.
24         This Indictment seeks forfeiture of property pursuant to violations of Title 18,
25 United States Code, Sections 1343, 1956(h), and 1957, as alleged in the Indictment,
26 which violations are punishable by imprisonment of more than one year. The United
27 States hereby gives notice that, in addition to the property already listed in the
28 forfeiture allegation, the United States is seeking forfeiture of the following
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 1 additional property pursuant to Title 18, United States Code, Sections 981 ( a )(1 )( c ),
 2   982 (a)(l), and 982 (b), and Title 28, United States Code, Section 2461(c):
 3      a) Real Property located at 4760 Rancho Del Mar Trail, San Diego, California
 4         92130-5210, more particularly described as:
 5
 6         PARCEL 1:
 7
 8         LOT 4 OF DEL MAR HIGHLANDS ESTATES, IN THE CITY OF SAN
 9         DIEGO,     COUNTY         OF    SAN   DIEGO,      STATE    OF    CALIFORNIA,
10         ACCORDING TO MAP THEREOF NO. 13818, FILED IN THE OFFICE OF
11         THE COUNTY RECORDER OF SAN DIEGO COUNTY, JULY 2, 1999.
12
13         AMENDED        BY        CERTIFICATE       OF   CORRECTION          RECORDED

14         DECEMBER 23, 1999 AS FILE NO. 1999-0830872 AND AND AMENDED

15         BY CERTIFICATE OF CORRECTION RECORDED NOVEMBER 21, 2008

16         AS INSTRUMENT NO. 08-603976 OF OFFICIAL RECORDS.

17
18         EXCEPTING THEREFROM, UNTIL DECEMBER 31, 2004, AS A

19         MINERAL INTEREST AND NOT AS A ROYALTY INTEREST, ALL OF

20         THE MINERALS OF EVERY KIND, INCLUDING, BUT NOT LIMITED

21         TO,    ALL     OIL,      GAS,    HYDROCARBONS            AND     ASSOCIATED

22         SUBSTANCES         IN,    UNDER       OR   THAT    MAY      BE    EXTRACTED,
23         PRODUCED AND SAVED FROM SAID REAL PROPERTY BUT

24         WITHOUT THE RIGHT OF ENTRY TO THE SURFACE OF SAID REAL

25         PROPERTY OR THE TOP 500 FEET OF THE SUBSURFACE OF SAID

26         REAL PROPERTY FOR THE PURPOSES                       OF EXPLORING FOR,
27         DEVELOPING AND REMOVING SUCH MATERIALS.
28
                                                 2
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 1       PARCEL 2:
 2

 3       A NON-EXCLUSIVE EASEMENT FOR INGRESS AND EGRESS OVER
 4       THE PRIVATE DRIVES, STREET AND COMMON AREA OF THE
 5       ABOVE-REFERENCED TRACT MAP, AS PROVIDED FOR IN AND

 6       SUBJECT       TO    THAT      CERTAIN        AMENDED         AND      RELATED

 7       DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS

 8       AND      GRANT       OF     EASEMENTS          FOR     RANCHO         PACIFICA

 9       HOMEOWNERS ASSOCIATION RECORDED FEBRUARY 11, 2000 AS

10       INSTRUMENT NO. 00-73953 OF OFFICIAL RECORDS, IN THE OFFICE
11       OF    THE     COUNTY        RECORDER        OF     SAN     DIEGO      COUNTY,
12       CALIFORNIA.

13
14
15       This property is currently being held in the Southern District of California.

16
17
18       DATED: July 26, 2022.
                                                 RANDY S. GROSSMAN
19                                               United States Attorney
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21                                               NICHOLAS W. PILCHAK
                                                 Assistant U.S. Attorney
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